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                                   5                                   UNITED STATES DISTRICT COURT

                                   6                                  NORTHERN DISTRICT OF CALIFORNIA

                                   7

                                   8     AIMEE E. REENDERS,                                    Case No.18-cv-07761-PJH (JSC)
                                                         Plaintiff,
                                   9
                                                                                               REPORT AND RECOMMENDATION
                                                  v.                                           RE: DEFAULT JUDGMENT
                                  10

                                  11     PREMIER RECOVERY GROUP,                               Re: Dkt. No. 19
                                                         Defendant.
                                  12
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                                  13

                                  14           Plaintiff Aimee Reenders alleges that Defendant Premier Recovery Group violated the Fair

                                  15   Debt Collection Practices Act through its debt collection activities in November 2018. The Clerk

                                  16   entered default against Defendant on March 15, 2019 after it failed to appear or otherwise defend

                                  17   itself in this matter. (Dkt. No. 18.) Plaintiff’s unopposed motion for default judgment pursuant to

                                  18   Federal Rule of Civil Procedure 55(b)(2) was referred to the undersigned magistrate judge for a

                                  19   report and recommendation. (Dkt. No. 19.) Having considered the motion and relevant legal

                                  20   authority, the Court recommends that the District Judge GRANT Plaintiff’s motion for default

                                  21   judgment as set forth below.

                                  22                                               BACKGROUND

                                  23           In November 2018, Plaintiff began receiving collection calls on her cellular phone from

                                  24   Defendant “attempting to collect an alleged defaulted Payday loan [] in which Defendant acquired

                                  25   the right to collect on while Plaintiff was in default.” (Complaint at ¶ 6.) Plaintiff is the sole

                                  26   subscriber, owner, possessor, and operator of the cellular phone on which she received these calls.

                                  27   (Id. at ¶ 7.) In addition to the calls, Defendant left four voicemail messages on her cellular phone

                                  28   “falsely” stating that “it filed a civil law suit against Plaintiff for ‘check fraud.’” (Id. at ¶ 8.)
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                                   1   These communications caused Plaintiff stress and she panicked that a civil lawsuit had been filed

                                   2   against her. (Id. at ¶¶ 9-10.) Defendant did not send Plaintiff any correspondence notifying her of

                                   3   her rights pursuant to 15 U.S.C. § 1692g. (Id. at ¶ 11.)

                                   4           In December 2018, Plaintiff filed the underlying action alleging violations of the Fair Debt

                                   5   Collection Practices Act (FDCPA), 15 U.S.C. §§ 1692e, 1692f, and 1692g.1 (Dkt. No. 1.) After

                                   6   Defendant failed to appear, the Clerk entered its default on March 15, 2019. (Dkt. No. 18.)

                                   7   Plaintiff thereafter filed the now pending motion for default judgment which was referred to the

                                   8   undersigned for a report and recommendation. (Dkt. Nos. 19, 22.)

                                   9                                               DISCUSSION

                                  10   A.      Jurisdiction and Service of Process

                                  11           When a party seeks entry of default judgment, courts have a duty to examine their own

                                  12   jurisdiction—both subject matter and personal. In re Tuli, 172 F.3d 707, 712 (9th Cir. 1999)
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                                  13   (internal citation omitted). Here, the Court may exercise subject matter jurisdiction because the

                                  14   FDCPA claim raises a federal question, 28 U.S.C. § 1331. Personal jurisdiction is likewise

                                  15   satisfied because Plaintiff alleges that Defendant uses the mail and/or telephone for the principle

                                  16   purpose of collecting defaulted consumer debts from consumers, including consumers in the State

                                  17   of California. (Dkt. No. 1 at ¶ 5.) Further, Plaintiff resides in California and alleges that

                                  18   Defendant contacted her on her cellular phone several times to collect on a debt. Defendant has

                                  19   thus purposefully availed itself to jurisdiction in California through its debt collection activities in

                                  20   this state which give rise to the underlying claims. See Freligh v. Roc Asset Sols., LLC, No. 16-

                                  21   CV-00653-MEJ, 2016 WL 3748723, at *3 (N.D. Cal. June 8, 2016), report and recommendation

                                  22   adopted, No. 16-CV-00653-YGR, 2016 WL 3747616 (N.D. Cal. July 11, 2016) (holding that

                                  23   personal jurisdiction existed over a non-resident defendant in an FDCPA action because

                                  24   “Defendant contacted Plaintiff in California by telephone to collect Plaintiff’s alleged debt,

                                  25   [thereby performing] acts or transactions within the forum” and because “Plaintiff’s claims arise

                                  26
                                  27
                                       1
                                         Although Plaintiff’s complaint also lists the Rosenthal Fair Debt Collection Practices Act, Cal.
                                       Civ. Code § 1788 in the caption, the complaint itself contains no allegations with respect to the
                                  28   Rosenthal Fair Debt Collection Practices Act. The Court thus only analyzes Plaintiff stated
                                       allegations under the FDCPA.
                                                                                         2
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                                   1   out of the telephone calls made by Defendant” in the forum state); Pelaez v. MCT Grp., Inc., No.

                                   2   2:10-CV-00733, 2011 WL 500215, at *3 (D. Nev. Feb. 10, 2011) (“Individuals should be able to

                                   3   file suit in the state where they receive alleged illegal communications by out-of-state collection

                                   4   agencies. If not, collection agencies ‘could invoke the protection of distance and send violative

                                   5   letters with relative impunity.’”).

                                   6           The Court must also assess whether the defendant against whom default judgment is

                                   7   sought was properly served with notice of the action. Penpower Tech. Ltd. v. S.P.C. Tech., 27 F.

                                   8   Supp. 2d 1083, 1088 (N.D. Cal. 2008) (internal quotation marks and citation omitted). A plaintiff

                                   9   may serve a corporation, partnership, or association by delivering a copy of the summons and

                                  10   complaint to an agent “authorized by appointment or by law to receive service of process.” Fed. R.

                                  11   Civ. P. 4(h)(1)(B). Here, Plaintiff served the summons and complaint on Defendant by personally

                                  12   serving its registered agent for service of process.2 (Dkt. No. 17.) Thus, the Court concludes that
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                                  13   the preliminary requirements of jurisdiction and service of process are satisfied.

                                  14   B.      Default Judgment is Appropriate

                                  15           After entry of default, a court may grant default judgment on the merits of the case. Fed.

                                  16   R. Civ. P. 55. “The district court’s decision whether to enter a default judgment is a discretionary

                                  17   one.” Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980). Courts consider the following

                                  18   factors in determining whether to enter default judgment:

                                  19                  (1) the possibility of prejudice to the plaintiff, (2) the merits of
                                                      plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4)
                                  20                  the sum of money at stake in the action; (5) the possibility of a dispute
                                                      concerning material facts; (6) whether the default was due to
                                  21                  excusable neglect, and (7) the strong policy underlying the Federal
                                                      Rules of Civil Procedure favoring decisions on the merits.
                                  22
                                       Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). Upon entry of default, the factual
                                  23
                                       allegations of the complaint related to liability are accepted as true and deemed admitted by the
                                  24
                                       non-moving party. TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987).
                                  25

                                  26   2
                                         Although service was not made at the address registered for service of process, it was personally
                                  27   made on the registered agent for service at an alternative address provided by the registered agent
                                       for service of process. (Dkt. Nos. 17-1; 17-3.)
                                  28
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                                   1          The majority of the Eitel factors support default judgment in this case.

                                   2          1.       Possibility of Prejudice

                                   3          The first Eitel factor considers whether the plaintiff will suffer prejudice if default

                                   4   judgment is not entered. Eitel, 782 F.2d at 1471. If Plaintiff is left without remedy if default

                                   5   judgment is denied, this factor weighs in favor of default judgment. See e.g., Allegro Consultants,

                                   6   Inc. v. Wellington Techs., Inc., No. 13-cv-02204-BLF, 2016 WL 1623941, at *2 (N.D. Cal. Apr.

                                   7   25, 2016) (finding possibility of prejudice weighed in favor of default judgment because plaintiff

                                   8   would lose the ability to recoup unpaid balance in breach of contract action). Here, like Allegro,

                                   9   Plaintiff’s only recourse is default judgment because Defendant has failed to respond to the

                                  10   complaint.

                                  11          Thus, the first factor weighs in favor of default judgment.

                                  12          2.      Merits of Plaintiff’s Substantive Claims/Sufficiency of the Complaint
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                                  13          The second and third Eitel factors address the merits and sufficiency of Plaintiff’s claims

                                  14   as pleaded in the complaint. Courts often analyze these two factors together. See Dr. JKL Ltd. v.

                                  15   HPC IT Educ. Ctr., 749 F. Supp 2d 1038, 1048 (N.D. Cal. 2010). In analyzing the second and

                                  16   third Eitel factors, the Court accepts as true all well-pleaded allegations regarding

                                  17   liability. See Fair Hous. of Marin v. Combs, 285 F.3d 899, 906 (9th Cir. 2002) (internal citation

                                  18   omitted).

                                  19          “In order to state a claim under the FDCPA, a plaintiff must show: 1) that [s]he is a

                                  20   consumer; 2) that the debt arises out of a transaction entered into for personal purposes; 3) that the

                                  21   defendant is a debt collector; and 4) that the defendant violated one of the provisions of the

                                  22   FDCPA.” Freeman v. ABC Legal Services, Inc., 827 F. Supp.2d 1065, 1071 (N.D. Cal. 2011).

                                  23   Here, Plaintiff alleges that Defendant contacted her “attempting to collect an alleged defaulted

                                  24   Payday loan” and that Defendant “is a collections agency whose primary purpose is collecting or

                                  25   attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed or

                                  26   due to others.” (Dkt. No. 1 at ¶¶ 5, 6.) These allegations satisfy the first three prongs. See 15

                                  27   U.S.C. § 1692a(3) (defining “consumer” as “any natural person obligated or allegedly obligated to

                                  28   pay any debt.”); 15 U.S.C. § 1692a(5) (defining “debt” as “any obligation or alleged obligation of
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                                   1   a consumer to pay money arising out of a transaction in which the money, property, insurance, or

                                   2   services which are the subject of the transaction are primarily for personal, family, or household

                                   3   purposes, whether or not such obligation has been reduced to judgment.”); 15 U.S.C. § 1692a(6)

                                   4   (defining “debt collector” as “any person” the “principal purpose” of whose business “is the

                                   5   collection of any debts,” or “who regularly collects or attempts to collect, directly or indirectly,

                                   6   debts owed or due or asserted to be owed or due another.”).

                                   7           As for the fourth prong, Plaintiff alleges that Defendant violated three provisions of the

                                   8   FDCPA: (1) Section 1692e based on Defendant’s false representation that it would sue her for

                                   9   check fraud and that it had filed a civil lawsuit against her (Dkt. No. 1 at ¶¶ 23-24); (2) Section

                                  10   1692f based on Defendant’s threats to sue Plaintiff for check fraud, call her employer, and garnish

                                  11   her wages (id. at ¶ 26); and (3) Section 1692g based on Defendant’s failure to inform Plaintiff of

                                  12   her rights (id. at ¶¶ 27-29).
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                                  13                                         a.      15 U.S.C. § 1692e

                                  14           Section 1692e prohibits a debt collector from using any “false, deceptive, or misleading

                                  15   representation or means in connection with the collection of any debt.” Section 1692e sets forth a

                                  16   non-exclusive list of conduct that constitutes a violation, including making a “false representation

                                  17   of the character, amount, or legal status of any debt” or a “representation or implication that

                                  18   nonpayment of any debt will result in the arrest or imprisonment of any person or the seizure,

                                  19   garnishment, attachment, or sale of any property or wages of any person unless such action is

                                  20   lawful and the debt collector or creditor intends to take such action” or a “threat to take any action

                                  21   that cannot legally be taken or that is not intended to be taken.” 15 U.S.C. § 1692e(2), (4), (5).

                                  22   Defendant’s threat to sue Plaintiff for check fraud and falsely representing that it had filed a civil

                                  23   suit against states a claim under this section.

                                  24                                          b.         15 U.S.C. § 1692f

                                  25           Section 1692f prohibits the use of “unfair or unconscionable means to collect or attempt to

                                  26   collect a debt.” 15 U.S.C. § 1692f. The FDCPA does not define “unfair” or “unconscionable,” but

                                  27   Section 1692f provides eight examples of improper conduct “without limiting the general

                                  28   application” of the statute. See id. Here, Plaintiff does not rely on one of the listed examples and
                                                                                             5
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                                   1   instead essentially relies on the same allegations as for her Section 1692e claim, insisting that

                                   2   Defendant’s threat to sue Plaintiff for “check fraud,” call Plaintiff’s employer, and garnish

                                   3   Plaintiff’s wages was unfair because it attempted to scare her into making a payment on the

                                   4   subject debt. (Dkt. No. 1 at ¶ 26.)

                                   5          “Congress enacted Section 1692f to catch conduct not otherwise covered by the FDCPA.”

                                   6   Baker v. Allstate Fin. Servs., Inc., 554 F.Supp.2d 945, 953 (D. Minn. 2008) (citing S.Rep. No. 95–

                                   7   382, at 4 (1977) (“[T]his bill prohibits in general terms any harassing, unfair, or deceptive

                                   8   collection practice. This will enable the courts, where appropriate, to proscribe other improper

                                   9   conduct which is not specifically addressed.”)); see also Fox v. ProCollect, Inc., No.

                                  10   4:17CV00634 JLH, 2019 WL 386159, at *8 (E.D. Ark. Jan. 30, 2019) (collecting cases holding

                                  11   that “because other FDCPA provisions addressed the type of conduct at issue — improper

                                  12   disclosures and false threats of legal action — § 1692f, the catchall provision, did not apply”);
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                                  13   Clark v. Lender Processing Servs., 562 F. App’x 460, 467 (6th Cir. 2014) (“Section 1692f is a

                                  14   catchall provision that forbids a debt collector from using “unfair or unconscionable means to

                                  15   collect or attempt to collect any debt.”). Because Plaintiff’s 1692f claim is predicated on the same

                                  16   actions as her 1692e claim, Section 1692f does not apply. Even if this were not the case,

                                  17   Plaintiff’s conclusory allegation that Defendant attempted to scare her into making a payment by

                                  18   threatening to contact her employer, garnish her wages, or file a lawsuit are not material violations

                                  19   if those options were legally available to Defendant and Plaintiff has not alleged that they were

                                  20   not. See Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1033 (9th Cir. 2010).

                                  21                                         c.      15 U.S.C. § 1692g

                                  22          Section 1692g(a) provides that to “[w]ithin five days after the initial communication with a

                                  23   consumer in connection with the collection of any debt, a debt collector shall, unless the following

                                  24   information is contained in the initial communication or the consumer has paid the debt, send the

                                  25   consumer a written notice containing…the amount of the debt; the name of the creditor to whom

                                  26   the debt is owed” and the process by which the consumer can dispute the debt. Plaintiff alleges

                                  27   that Defendant violated this section by “failing to properly inform Plaintiff as to Plaintiff’s rights

                                  28   for debt verification in a manner which was not reasonably calculated to confuse or frustrate the
                                                                                          6
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                                   1   least sophisticated consumer” and failing to advise her of the right to “dispute the validity of the

                                   2   subject debt.” (Dkt. No. 1 at ¶ 27.) Given Plaintiff’s allegation that Defendant never sent her any

                                   3   written correspondence notifying her of her rights, she has pled a claim under Section 1692g.

                                   4                                                     ***

                                   5          Based on the foregoing, Plaintiff’s FDCPA claim appears facially meritorious at least in

                                   6   part and the Complaint is sufficient to support a judgment on her Complaint. The second and third

                                   7   Eitel factors therefore weigh in favor of default judgment.

                                   8          3.      Amount of Money at Stake

                                   9          The fourth Eitel factor balances the amount of money at stake in the claim with the

                                  10   seriousness of the defendant’s conduct. PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172,

                                  11   1176 (C.D. Cal. 2002). “When the money at stake is substantial, default judgment is

                                  12   discouraged.” Bd. of Trs. v. Core Concrete Constr., Inc., No. 11-02532 LB, 2012 WL 380304, at
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                                  13   *4 (N.D. Cal. Jan. 17, 2012) (internal citation omitted). However, when “the sum of money at

                                  14   stake is tailored to the specific misconduct of the defendant, default judgment may be

                                  15   appropriate.” Id. (internal citation omitted). In determining whether the amount at stake is

                                  16   reasonable, courts consider a plaintiff’s declarations, calculations, and other documentation of

                                  17   damages. Truong Giang Corp. v. Twinstar Tea Corp., No. 06-cv-03594 JSW, 2007 WL 1545173,

                                  18   at *12 (N.D. Cal. May 29, 2007)(internal citation omitted). Here, Plaintiff seeks $1,000 in

                                  19   statutory damages which are authorized under the FDCPA. Because this amount is neither

                                  20   substantial nor unreasonable and the statutory damages are tied to Defendant’s misconduct, the

                                  21   fourth factor weighs in favor of default judgment.

                                  22          4.      Possibility of Dispute Involving Material Facts

                                  23          The fifth Eitel factor considers the possibility that material facts may be in dispute. Eitel,

                                  24   782 F.2d at 1471-72. Where, as here, a plaintiff has filed a well-pleaded complaint alleging the

                                  25   elements necessary to establish its claims, and the Clerk has entered default upon defendant’s

                                  26   failure to answer, a court may find the possibility of a dispute as to material facts is

                                  27   unlikely. See Capitol Records v. Barrera, No. 06-07212-JSW, 2007 WL 1113949, at *3 (N.D.

                                  28   Cal. Apr. 13, 2007); Elektra Entm’t Grp., Inc. v. Crawford, 226 F.R.D. 388, 393 (C.D. Cal. 2005).
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                                   1   Plaintiff properly served Defendant’s registered agent for service of process, but Defendant failed

                                   2   to appear and respond to the complaint, and the Clerk entered default accordingly. Plaintiff’s

                                   3   well-pleaded allegations, accepted as true, sufficiently allege a violation of the FDCPA.

                                   4   TeleVideo Sys., 826 F.2d at 917-18. The record reflects Defendant’s silence despite opportunities

                                   5   to respond, so there is little possibility of a dispute of material facts. Therefore, this factor weighs

                                   6   in favor of default judgment.

                                   7          5.      Excusable Neglect

                                   8          The sixth Eitel factor considers whether the defendant’s default may have been due to

                                   9   excusable neglect. Eitel, 782 F.2d at 1471. Defendant was properly served on January 10, 2019.

                                  10   (Dkt. No. 8.) Despite awareness of the lawsuit, Defendant has not appeared in this matter, and

                                  11   nothing in the record suggests failure to appear is based on excusable neglect. See Shanghai

                                  12   Automation Instrument Co., Ltd. v. Kuei, 194 F. Supp. 2d 995, 1005 (N.D. Cal. 2001).
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                                  13          6.      Policy Favoring Decision on the Merits

                                  14          Finally, the seventh Eitel factor reflects the policy that generally disfavors default

                                  15   judgments because “cases should be decided upon their merits whenever reasonably possible.”

                                  16   Eitel, 782 F. 2d at 1471-72. “However, the mere existence of [Rule] 55(b) indicates that this

                                  17   preference, standing alone, is not dispositive.” PepsiCo, 238 F. Supp. 2d at 1177. Although this

                                  18   factor weighs against default, it is not alone dispositive nor does it weigh against granting default

                                  19   given the impossibility of deciding a case on its merits when defendant fails to answer. See

                                  20   Willamette Green Innovation Ctr., LLC v. Quartis Capital Partners, No. 13-cv-00848-JCS, 2014

                                  21   WL 5281039, at *13 (N.D. Cal. Jan. 21, 2014) (internal citation omitted).

                                  22                                                     ***

                                  23           All but one of the Eitel factors support entry of default judgment against Defendant.

                                  24   Accordingly, Plaintiff is entitled to default judgment on the FDCPA claim.

                                  25          C.      Relief Sought

                                  26          Having determined that the motion should be granted, the Court turns to the matter of the

                                  27   relief to which Plaintiff is entitled. In assessing the appropriate amount of damages on default

                                  28   judgment, the Court does not presume the truth of any factual allegations related to the amount of
                                                                                          8
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                                   1   damages. TeleVideo Sys., 826 F.2d at 917-18. Thus, Plaintiff is required to prove all damages

                                   2   sought in the complaint, and the Court must ensure the amount is reasonable and demonstrated by

                                   3   the evidence through testimony or written affidavit. Fed. R. Civ. P. 55(b); Televideo Sys., 826

                                   4   F.2d at 917-18; Bd. of Trs. of the Boilermaker Vacation Trust v. Skelly, Inc., 389 F. Supp. 2d 1222,

                                   5   1226 (N.D. Cal. 2005); PepsiCo Inc., 238 F. Supp. 2d at 1175 (internal citation omitted). Plaintiff

                                   6   requests statutory damages as well as attorneys’ fees and costs.

                                   7          1) Statutory Damages

                                   8          The FDCPA allows for statutory damages up to $1,000. 15 U.S.C. § 1692k(a)(2)(A).

                                   9   Statutory damages are available without proof of actual damages. Baker v. G.C. Servs. Corp., 677

                                  10   F.2d 775, 781 (9th Cir. 1982). In determining an appropriate amount of damages to be awarded,

                                  11   the court is to consider “the frequency and persistence of noncompliance by the debt collector, the

                                  12   nature of such noncompliance, and the extent to which such noncompliance was intentional.” 15
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                                  13   U.S.C. § 1692k(b)(1). A court in this District has previously awarded $400 under the FDCPA for

                                  14   a single voicemail that was deceptive in nature. See Smith v. Simm Associates, Inc., No. C12-4622

                                  15   TEH, 2013 WL 1800019, at *2 (N.D. Cal. Apr. 29, 2013) (“The script of the call makes it clear

                                  16   that the caller attempted to hide the nature of the call”). Another court in this District has held that

                                  17   statutory damages of $1,000 was appropriate where a defendant made two phone calls to a

                                  18   plaintiff that threatened criminal prosecution and another phone call to plaintiff’s workplace

                                  19   representing that defendant was from the “D.A.’s Office.” See Ortega v. Griggs & Associates

                                  20   LLC, No. 5:11-CV-02235-EJD, 2012 WL 2913202, at *1 (N.D. Cal. July 13, 2012). In another

                                  21   case, the court awarded $700 in statutory damages where the defendant left several voicemails

                                  22   threatening to initiate legal action if the plaintiff did not call back. See Evans v. Creditor’s

                                  23   Specialty Service, Inc., No. 15-cv-03355-BLF, 2016 WL 730277 at *3 (N.D. Cal., Feb. 24, 2016).

                                  24          Here, Plaintiff received multiple calls and Defendant left four voicemails falsely stating

                                  25   that it had initiated legal action against her. These actions show frequent disregard for the

                                  26   requirements of the FDCPA, but do not warrant the maximum statutory penalty given that the

                                  27   calls occurred over a relatively short period of time. Accordingly, the Court recommends $750 in

                                  28   statutory damages.
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                                   1          2) Attorneys’ Fees and Costs

                                   2          The FDCPA also provides for an award of fees and costs to the prevailing plaintiff. 15

                                   3   U.S.C. 1692k(a)(3). Reasonable attorneys’ fees are based on a “lodestar” calculation. Fischer v.

                                   4   SJB-P.D., Inc., 214 F.3d 1115, 1119 (9th Cir. 2000) (citing Hensley v. Eckerhart, 461 U.S. 424,

                                   5   433 (1983)). “The ‘lodestar’ is calculated by multiplying the number of hours ... reasonably

                                   6   expended on the litigation by a reasonable hourly rate.” Morales v. City of San Rafael, 96 F.3d

                                   7   359, 363 (9th Cir. 1996). The reasonable hourly rate is guided by “the rate prevailing in the

                                   8   community for similar work performed by attorneys of comparable skill, experience, and

                                   9   reputation.” Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210-11 (9th Cir. 1986), amended

                                  10   on other grounds by 808 F.2d 1373 (9th Cir. 1987) (internal citation omitted). In terms of

                                  11   reasonable amount of time spent on the case, courts should award fees based on “the number of

                                  12   hours reasonably expended on the litigation” excluding hours that are excessive or unnecessary.
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                                  13   Hensley, 461 U.S. at 433 (internal citation omitted).

                                  14          Plaintiff seeks a lodestar fee award of $2,768.75. (Dkt. No. 19-1.) Of this total, Plaintiff

                                  15   seeks $2,550 for 6 hours of work performed by counsel Marwan Daher and $218.75 for 1.75 hours

                                  16   of work performed by paralegal Laura Dixon. (Dkt. No. 25-1.)

                                  17          First, with respect to Mr. Daher’s hourly rate, Mr. Daher, who was admitted to the bar in

                                  18   2017, seeks an hourly rate of $425. (Dtk. No. 25 at ¶ 3.) Although Mr. Daher attests that he has

                                  19   received this rate in two actions in Illinois and that it is consistent with that charged by other

                                  20   attorneys who practice consumer law (id. at ¶¶ 8-9), the relevant inquiry is “the rate prevailing in

                                  21   the community for similar work performed by attorneys of comparable skill, experience, and

                                  22   reputation.” Chalmers, 796 F.2d at 1210-11. In this District, an hourly rate of $425 for an attorney

                                  23   with two year’s experience exceeds the hourly rate approved of for attorneys in debt collection

                                  24   practice cases. See, e.g., Schuchardt v. Law Office of Rory W. Clark, 314 F.R.D. 673, 689 (N.D.

                                  25   Cal. 2016) (approving a $350 hourly rate for a senior associate and a $400 hourly rate for other

                                  26   attorneys in an FDCPA action); Jacobson v. Persolve, LLC, No. 14-cv-00735-LHK, 2016 WL

                                  27   7230873, at *5 (N.D. Cal., Dec. 14, 2016) (approving a $500 hourly rate for an attorney with 19

                                  28   years of experience and an hourly rate of $400 for an attorney with approximately 9 years of
                                                                                          10
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                                   1   experience); Evans v. Creditor’s Specialty Service Inc., No. 15-CV-03355-BLF, 2016 WL

                                   2   730277, at *4 (N.D. Cal. Feb. 24, 2016) (approving a rate of $320 per hour for an attorney with

                                   3   nearly 8 years experience and noting that an hourly rate of $290 had been approved for the same

                                   4   attorney two years beforehand). Indeed, the survey Plaintiff cites in support of the proposed

                                   5   hourly rate—the United States Consumer Law Attorney Fee Survey Report 2015-2016, p. 43, see

                                   6   https://www.nclc.org/images/pdf/litigation/tools/atty-fee-survey-2015-2016.pdf —indicates that in

                                   7   this District the average hourly rate of consumer attorneys with 1-3 years of experience (such as

                                   8   Mr. Daher) is $225. Accordingly, the Court recommends an hourly rate of $225 which is in

                                   9   keeping with the amount generally approved of for attorneys in this District in debt collection

                                  10   practice cases with two year’s experience.

                                  11          Second, with respect to the number of hours billed by Mr. Daher, the Court finds the 6

                                  12   hours requested reasonable and does not recommend any reduction in the number of hours. See
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                                  13   Freligh v. Roc Asset Sols., LLC, No. 16-CV-00653-MEJ, 2016 WL 3748723, at *9 (N.D. Cal. June

                                  14   8, 2016), report and recommendation adopted, No. 16-CV-00653-YGR, 2016 WL 3747616 (N.D.

                                  15   Cal. July 11, 2016) (finding 13 hours reasonable and collecting similar FDCPA cases re: same).

                                  16          Third, Plaintiff seeks $218.75 for 1.75 hours of work performed by paralegal Laura Dixon.

                                  17   (Dkt. No. 25-1.) Ms. Dixson’s hourly rate is $125 which appears to be below rates approved in

                                  18   other recent debt collection cases. See, e.g., Jacobson, 2016 WL 7230873 at *7 (approving a rate

                                  19   of $180 per hour for a law clerk); Long v. Nationwide Legal File & Serve, Inc., No. 12-cv-03578-

                                  20   LHK, 2014 WL 3809401, at *12 (N.D. Cal., July 23, 2014) (approving a rate of $175 in a debt

                                  21   collection practices case for a law clerk). However, “[f]ees for law clerks and paralegals are

                                  22   compensable as attorney’s fees so long as the work is legal rather than clerical in nature.”

                                  23   Jacobson, 2016 WL 7230873 at *7; see also Missouri v. Jenkins ex rel. Agyei, 491 U.S. 274, 288

                                  24   n.10 (1989) (“[P]urely clerical or secretarial tasks should not be billed at a paralegal rate,

                                  25   regardless of who performs them.”); Nadarajah v. Holder, 569 F.3d 906, 921 (9th Cir. 2009)

                                  26   (“When clerical tasks are billed at hourly rates, the court should reduce the hours requested to

                                  27   account for the billing errors.”). “Tasks such as preparing proofs of service, processing records,

                                  28   posting letters for mail, photocopying, three-hole punching, internal filing, calendaring, and
                                                                                          11
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                                   1   preparing the summons and complaint for filing have been found to be purely clerical tasks for

                                   2   which fees are not recoverable.” Borillo v. Legal Recovery Law Offices, Inc., No. 5:16-CV-05508-

                                   3   HRL, 2017 WL 1758088, at *6 (N.D. Cal. May 5, 2017), report and recommendation adopted, No.

                                   4   16-CV-05508-LHK, 2017 WL 2265571 (N.D. Cal. May 24, 2017) (collecting cases re: same).

                                   5   Here, Ms. Dixson’s work is described as “filed the complaint,” “issued summons and sent to

                                   6   Process Server to serve Defendant,” and “filed executed summons.” (Dkt. No. 25-1 at 2.) These

                                   7   activities are clerical in nature and not recoverable. See Neil v. Comm’r of Soc. Sec., 495 F. App'x

                                   8   845, 847 (9th Cir. 2012). Accordingly, the Court does not recommend awarding any fees based

                                   9   on work performed by Ms. Dixson.

                                  10            Finally, Plaintiff seeks $857.50 in costs which consist of the filing fee, the service fee, and

                                  11   mailing fees. Because these costs are reasonable and the FDCPA permits a court to award costs,

                                  12   see 15 U.S.C. § 1692k(a)(3), the Court recommends that Plaintiff be awarded costs in the amount
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                                  13   of $857.50.

                                  14                                               CONCLUSION

                                  15            For the reasons stated above, the Court recommends that the district court GRANT

                                  16   Plaintiff’s motion for default judgment and award Plaintiff $750 in statutory damages, $1,350 in

                                  17   attorneys’ fees, and $857.50 in costs.

                                  18            Any party may file objections to this report and recommendation with the district judge

                                  19   within 14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b);

                                  20   Civ. L.R. 72-3. Failure to file an objection may waive the right to review of the issue in the district

                                  21   court.

                                  22

                                  23            IT IS SO ORDERED.

                                  24   Dated: May 7, 2019

                                  25

                                  26
                                                                                                       JACQUELINE SCOTT CORLEY
                                  27                                                                   United States Magistrate Judge
                                  28
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